
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent’s Answer.
The claimant seeks an award of $2,744.39 which, due to oversight, it failed to receive under the statutory distribution of funds to volunteer fire departments. Respondent, while admitting the validity of the claim, states that there were insufficient funds remaining in its appropriation for the fiscal year in question from which the claim could be paid.
While this is a claim which in equity and good conscience should be paid, the Court finds that an award cannot be made based on the decision in Airkem Sales &amp; Service, et al. vs. Dept. of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
